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Exhibit D
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UMBUS DISPATCH | Vietro & State | THURSDAY, NOVEMBER 10, 2011

BREAKING NEWS: DISPATCH.COM

sentenced burglar mum on money

By Kathy Lynn Gray
THE COLUMBUS DISPATCH

The government's star
witness in the Brink's ware-
house burglary had plenty to
say on the stand last month
but nathing to say yesterday
as he was sentenced to two
years and three months in
federal prison.

The testimony of Robert
Doucette, 41, helped convict
Sean D. Murphy, the ring-
leader behind the $2.3 million
heist, during an October jury
trial.

Besides sentencing Dou-
cette, of Lynn, Mass., U.S.
District Judge George C.
Smith also ordered him to
pay a share of $1.3 million in
restitution for his part in the

 

Robert
Doucette

January 2009 burglary in
South Linden.

“He was the only witness
who could place Murphy at
the scene of the crime,” Smith

said.

Although conceding that
Doucette provided “sub-
stantial” assistance to the
government's investigation,
Smith said he remains con-
cerned that more than half of

 

 

Sean D.
Murphy

the stolen money has not
been found.

“The court wonders where
Mr. Doucette’s money is,”
Smith said.

Doucette and Joseph M.
Morgan, 29, pleaded guilty in
April to two charges from the
burglary: racketeering and
conspiracy to transport stolen
merchandise and money
across state lines. Morgan,
who did not testify at Mur-
phy’s trial, was sentenced to
four years and seven months
in prison.

A jury found Murphy, 47,
guilty of masterminding the
heist after Doucette gave a
play-by-play account of how
the three defeated the ware-
house's security system and
burned their way into a mon-

ey vault.

Murphy has not been sen-
tenced yet, but he and Mor-
gan also will contribute to the
$1.3 million in restitution, the
judge said.

The three were part of the
Lynn Breakers, a burglary ring
out of Lynn, Mass., where
Murphy lived and operated
several moving companies.
They were indicted in the
Brink's case in January.

Doucette could have been
sentenced to 15 years in pris-
on. The government asked
the judge for a lesser sentence
because of his help, which
included showing investiga-
tors where the burglars had
stashed $388,000 in stolen
coins.

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